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                 EXHIBIT A




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 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                                 FOR THE DISTRICT OF ARIZONA
 8
 9
      United States of America,                       No. CR-18-00422-PHX-DJH
10
                    Plaintiff,                        VERDICT
11
      v.
12
      Michael Lacey, et al.,
13
                    Defendants.
14
15
l6          We, the Jury, find the defendants, Michael Lacey, Scott Spear, John "Jed" Brunst,
17    Andrew Padilla, and Joye Vaught, as to the charges of the Indictment:

18
                                          CONSPIRACY
19                                        18 u.s.c. § 371
20                                          COUNT 1

21
           Michael Lacey                    NOT GUILTY                         GUILTY
22
23
           Scott Spear                      NOT GUILTY                  ~      GUILTY
           John "Jed" Brunst                NOT GUILTY                  ~      GUILTY
24
           Andrew Padilla            X      NOT GUILTY                         GUILTY
25
           Joye Vaught               ~      NOT GUILTY                         GUILTY
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 1
                               Travel Act - Facilitate Prostitution
 2                                 18 U.S.C. § 1952(a)(3)(A)
                                        COUNTS 2-51
 3
 4   Count 2:
 5
           Date                      Exhibits                 State
 6         Sept. 10, 2013            212,212a                 Massachusetts
 7

 8         Michael Lacey                         NOT GUILTY                   GUILTY

 9         Scott Spear                           NOT GUILTY           ~       GUILTY

10         John "Jed" Brunst        'I....       NOT GUILTY                   GUILTY

11         Andrew Padilla           ~            NOT GUILTY                   GUILTY

12         Joye Vaught              ~            NOT GUILTY                   GUILTY

13
14   Count 3:

15
           Date                      Exhibit                  State
16
           Jan.27,2014               504                      Washington
17
18        Michael Lacey                      NOT GUILTY                       GUILTY
19        Scott Spear                        NOT GUILTY               ~       GUILTY
20        John "Jed" Brunst         '/...    NOT GUILTY                       GUILTY
21        Andrew Padilla             ~       NOT GUILTY                       GUILTY
22        Joye Vaught               X        NOT GUILTY                       GUILTY
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  1
  2   Count 4:
  3
  4         Date                   Exhibit                 State
            Jan.29,2014            214                     Massachusetts
  5
  6        Michael Lacey                  NOT GUILTY                       GUILTY
  7        Scott Spear                        NOT GUILTY           ~       GUILTY
  8        John "Jed" Brunst      ~           NOT GUILTY                   GUILTY
  9        Andrew Padilla         )(          NOT GUILTY                   GUILTY
 10        Joye Vaught             ~          NOT GUILTY                   GUILTY
 11
 12   Count 5:
 13
 14         Date                   Exhibit                 State
            Jan. 31, 2014          214a                    New Hampshire
 15
 16        Michael Lacey                      NOT GUILTY                   GUILTY
 17        Scott Spear                        NOT GUILTY           'b      GUILTY
 18        John "Jed" Brunst      )(          NOT GUILTY                   GUILTY
 19        Andrew Padilla          X          NOT GUILTY                   GUILTY
20         Joye Vaught             X          NOT GUILTY                   GUILTY
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  1
 2    Count 6:
 3
 4          Date                   Exhibit                 State
            Feb. 6,2014            505                     Washington
  5
  6
           Michael Lacey                    NOT GUILTY                  GUILTY
 7
           Scott Spear                      NOT GUILTY           ~      GUILTY
  8
           John "Jed" Brunst       X        NOT GUILTY                  GUILTY
  9
           Andrew Padilla          X        NOT GUILTY                  GUILTY
10
           Joye Vaught             X        NOT GUILTY                  GUILTY
 11
 12
      Count 7:
 13
 14         Date                   Exhibit                 State
 15         Apr. 20, 2014          506                     Washington

 16
           Michael Lacey                    NOT GUILTY                  GUILTY
 17
           Scott Spear                      NOT GUILTY           '/4.   GUILTY
 18
           John "Jed" Brunst      X         NOT GUILTY                  GUILTY
 19
           Andrew Padilla          X        NOT GUILTY                  GUILTY
20
           Joye Vaught             )(       NOT GUILTY                  GUILTY
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  1
 2    Count 8:
 3
 4          Date                   Exhibit                 State
            May 7, 2014            507                     Washington
  5
  6        Michael Lacey                  NOT GUILTY                    GUILTY
 7         Scott Spear                    NOT GUILTY              ~     GUILTY
  8        John "Jed" Brunst       )(     NOT GUILTY                    GUILTY
  9        Andrew Padilla          X      NOT GUILTY                    GUILTY
 10        Joye Vaught             )(     NOT GUILTY                    GUILTY
 11
 12   Count 9:

 13
            Date                   Exhibit                 State
 14         May 31, 2014           508                     Washington
 15
 16        Michael Lacey                  NOT GUILTY                    GUILTY

 17        Scott Spear                    NOT GUILTY                    GUILTY

 18        John "Jed" Brunst       X      NOT GUILTY                    GUILTY

 19        Andrew Padilla           )<    NOT GUILTY                    GUILTY

20         Joye Vaught              X'    NOT GUILTY                    GUILTY

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  2   Count 10:
  3
  4         Date                    Exhibit                State
            July 1, 2014            509                    Washington
  5
  6        Michael Lacey                  NOT GUILTY                      GUILTY
  7        Scott Spear                    NOT GUILTY              ~       GUILTY
  8        John "Jed" Brunst       '>(    NOT GUILTY                      GUILTY
  9        Andrew Padilla          ')(    NOT GUILTY                      GUILTY
 10        Joye Vaught             X      NOT GUILTY                      GUILTY
 11
 12   Count 11:
 13
 14         Date                    Exhibit                State
            Aug. 19, 2014           510                    Washington
 15
 16
           Michael Lacey                  NOT GUILTY                      GUILTY
 17
           Scott Spear                    NOT GUILTY              '/...   GUILTY
 18
 19
           John "Jed" Brunst       ><     NOT GUILTY                      GUILTY
           Andrew Padilla          X      NOT GUILTY                      GUILTY
20
21
           Joye Vaught             x      NOT GUILTY                      GUILTY


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  1
 2    Count 12:
 3
 4          Date                   Exhibit                 State
            Nov. 23, 2014          215a                    California
  5
  6
           Michael Lacey                  NOT GUILTY                       GUILTY
  7
  8
  9
           Scott Spear
           John "Jed" Brunst       ')(
                                          NOT GUILTY
                                          NOT GUILTY             "'        GUILTY
                                                                           GUILTY
           Andrew Padilla          X      NOT GUILTY                       GUILTY
 10        Joye Vaught             ~      NOT GUILTY                       GUILTY
 11

 12   Count 13:
 13
 14         Date                   Exhibit                 State
 15         Jan 29, 2015           217a                    California

 16
           Michael Lacey                  NOT GUILTY                       GUILTY
 17
           Scott Spear                    NOT GUILTY              'f..._   GUILTY
 18
           John "Jed" Brunst      )(      NOT GUILTY                       GUILTY
 19
           Andrew Padilla          X      NOT GUILTY                       GUILTY
20
           Joye Vaught             X      NOT GUILTY                       GUILTY
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  1
 2    Count 14:
  3
 4          Date                   Exhibit                 State
            Jan. 31, 2015          215                     Arizona
  5
  6        Michael Lacey                   NOT GUILTY                     GUILTY
  7        Scott Spear                     NOT GUILTY                     GUILTY
  8        John "Jed" Brunst       'x      NOT GUILTY                     GUILTY
  9        Andrew Padilla          X       NOT GUILTY                     GUILTY
 10        Joye Vaught             y:,_    NOT GUILTY                     GUILTY
 11

 12   Count 15:
 13
 14         Date                   Exhibit                 State
            Jan. 31, 2015          217                     Arizona
15
 16
           Michael Lacey                   NOT GUILTY                     GUILTY
 17
           Scott Spear                     NOT GUILTY              '><.   GUILTY
 18
19
           John "Jed" Brunst       x       NOT GUILTY                     GUILTY
           Andrew Padilla          ~       NOT GUILTY                     GUILTY
20
           Joye Vaught             )<      NOT GUILTY                     GUILTY
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  1
  2    Count 16:
  3
  4         Date                     Exhibit               State
            Feb.4,2015               216                   Colorado
  5
  6
  7        Michael Lacey                  NOT GUILTY                      GUILTY
  8         Scott Spear                   NOT GUILTY          ~           GUILTY
  9         John "Jed" Brunst     '>(     NOT GUILTY                      GUILTY
 10        Andrew Padilla        X        NOT GUILTY                      GUILTY
 11         Joye Vaught           X       NOT GUILTY                      GUILTY
 12

 13    Count 17:
 14
 15         Date                      Exhibit              State
            Feb. 18,2015             216a                  Colorado
 16
 17        Michael Lacey                    NOT GUILTY                      GUILTY
 18         Scott Spear                     NOT GUILTY             '><.     GUILTY
 19         John "Jed" Brunst       x       NOT GUILTY                      GUILTY
 20         Andrew Padilla           'X     NOT GUILTY                      GUILTY
 21         Joye Vaught              X      NOT GUILTY                      GUILTY
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  1
  2    Count 18:                                                                      b
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  3
  4         Date                    Exhibit                State
            Feb.26,2015             511                    Washington
  5
  6        Michael Lacey                   NOT GUILTY                    GUILTY
  7         Scott Spear                    NOT GUILTY               ~    GUILTY
  8         John "Jed" Brunst      x       NOT GUILTY                    GUILTY
  9         Andrew Padilla         X       NOT GUILTY                    GUILTY
 10         Joye Vaught            X       NOT GUILTY                    GUILTY
 11

 12    Count 19:
 13
 14         Date                    Exhibit                 State

 15         May 18, 2015            220                    Texas

 16
            Michael Lacey                  NOT GUILTY                    GillLTY
 17
 18
 19
            Scott Spear
            John "Jed" Brunst
                                   ')(.
                                    X
                                           NOT GUILTY
                                           NOT GUILTY               •    GUILTY
                                                                         GUILTY
            Andrew Padilla          X      NOT GUILTY                    GUILTY
 20
 21
            Joye Vaught             x      NOT GillLTY                   GUILTY

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  1
  2    Count 20:
  3
  4         Date                    Exhibit                State
            May 19, 2015            220a                   Texas
  5
  6
           Michael Lacey                    NOT GUILTY                   GUILTY
  7

  8
            Scott Spear            '/4      NOT GUILTY              ~    GUILTY
            John "Jed" Brunst      ')<.     NOT GUILTY                   GUILTY
  9
            Andrew Padilla         )(       NOT GUILTY                   GUILTY
 10
            Joye Vaught            )(       NOT GUILTY                   GUILTY
 11
 12
       Count 21:
 13
 14
            Date                     Exhibit                State
 15
            July 1, 2015             222                    Arizona
 16
 17         Michael Lacey                   NOT GUILTY                   GUILTY
 18
 19
            Scott Spear
            John "Jed" Brunst
                                   'i..
                                   ~
                                            NOT GUILTY
                                            NOT GUILTY
                                                                    •    GUILTY
                                                                         GUILTY
 20         Andrew Padilla         x        NOT GUILTY                   GUILTY
 21         Joye Vaught             X       NOT GUILTY                   GUILTY
 22
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  1
  2    Count 22:
  3
  4         Date                    Exhibit                 State
            July 2, 2015            222a                    Arizona
  5
  6
            Michael Lacey                  NOT GUILTY                    GUILTY
  7
            Scott Spear            '1-.    NOT GUILTY               ~    GUILTY
  8         John "Jed" Brunst      ')(     NOT GUILTY                    GUILTY
  9                                X
            Andrew Padilla                 NOT GUILTY                    GUILTY
 10         Joye Vaught             ¼      NOT GUILTY                    GUILTY
 11
 12
       Count 23:
 13
 14         Date                    Exhibit                 State
 15         Aug. 13, 2015           218                     California
 16
            Michael Lacey                  NOT GUILTY                    GUILTY
 17
 18
            Scott Spear            X       NOT GUILTY               ~    GUILTY
            John "Jed" Brunst      )(      NOT GUILTY                    GUILTY
 19
 20
            Andrew Padilla         x       NOT GUILTY                    GUILTY
            Joye Vaught            )(      NOT GUILTY                    GUILTY
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  1
  2    Count 24:
  3
  4         Date                    Exhibit                  State
            Aug. 15, 2015           221                     Michigan
  5
  6
            Michael Lacey                  NOT GUILTY                     GUILTY
  7
            Scott Spear            'A.     NOT GUILTY                     GUILTY
  8
            John "Jed" Brunst      X       NOT GUILTY                     GUILTY
  9
            Andrew Padilla         X       NOT GUILTY                     GUILTY
 10
            Joye Vaught            X       NOT GUILTY                     GUILTY
 11
 12
       Count 25:
 13
 14         Date                     Exhibit                 State
 15         Sept. 13, 2015           512                     Washington

 16
            Michael Lacey                  NOT GUILTY                     GUILTY
 17
 18
            Scott Spear            X       NOT GUILTY                     GUILTY
            John "Jed" Brunst      ){_     NOT GUILTY                     GUILTY
 19
 20
            Andrew Padilla         X       NOT GUILTY                     GUILTY
            Joye Vaught            X       NOT GUILTY                     GUILTY
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  1
  2    Count 26:
  3
  4         Date                      Exhibit                State
            Nov. 28, 2015              513                  Washington
  5
  6
           Michael Lacey                      NOT GUILTY                 GUILTY
  7                                ')(.
            Scott Spear                       NOT GUILTY                 GUILTY
  8
            John "Jed" Brunst      X          NOT GUILTY                 GUILTY
  9
            Andrew Padilla         x          NOT GUILTY                 GUILTY
 10
 11
            Joye Vaught            x          NOT GUILTY                 GUILTY


 12
       Count 27:
 13
 14         Date                       Exhibit               State
 15         Apr. 21, 2016              1718                  Massachusetts

 16
            Michael Lacey                     NOT GUILTY                 GUILTY
 17
            Scott Spear            X          NOT GUILTY                 GUILTY
 18
            John "Jed" Brunst     x           NOT GUILTY                 GUILTY
 19
 20
            Andrew Padilla         x          NOT GUILTY                 GUILTY
            Joye Vaught           )<          NOT GUILTY                 GUILTY
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  1
  2    Count 28:
  3
  4         Date                     Exhibit                 State
            Nov. 3, 2016             1719                   Washington
  5
  6
            Michael Lacey                   NOT GUILTY                   GUILTY
  7         Scott Spear            'I..     NOT GUILTY                   GUILTY
  8         John "Jed" Brunst      X.       NOT GUILTY                   GUILTY
  9
            Andrew Padilla         X        NOT GUILTY                   GUILTY
 10         Joye Vaught            ¼        NOT GUILTY                   GUILTY
 11
 12    Count 29:
 13
 14         Date                     Exhibit                 State
 15         Nov. 11, 2016            1720                    Massachusetts

 16
            Michael Lacey                   NOT GUILTY                   GUILTY
 17
            Scott Spear            X.       NOT GUILTY                   GUILTY
 18
            John "Jed" Brunst      ¼        NOT GUILTY                   GUILTY
 19                                 )<
            Andrew Padilla                  NOT GUILTY                   GUILTY
 20
            Joye Vaught            X        NOT GUILTY                   GUILTY
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  1
  2   Count 30:
  3
  4         Date                     Exhibit                State
            Nov. 14, 2016             1721                  Massachusetts
  5
  6
           Michael Lacey                     NOT GUILTY                  GUILTY
  7
           Scott Spear             '/...     NOT GUILTY                  GUILTY
  8
           John "Jed" Brunst       'x        NOT GUILTY                  GUILTY
  9
           Andrew Padilla          x         NOT GUILTY                  GUILTY
 10
           Joye Vaught              X.       NOT GUILTY                  GUILTY
 11
 12
       Count 31:
 13
 14         Date                     Exhibit                State
            Nov. 14, 2016            1735                   Arizona
 15
 16
           Michael Lacey                     NOT GUILTY                  GUILTY
 17
            Scott Spear             'X.      NOT GUILTY                  GUILTY
 18
            John "Jed" Brunst      'x        NOT GUILTY                  GUILTY
 19
           Andrew Padilla          X         NOT GUILTY                  GUILTY
 20
            Joye Vaught            )(        NOT GUILTY                  GUILTY
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  1
  2    Count 32:                                                                      t

  3
  4         Date                     Exhibit                 State
            Nov. 19, 2016             1722                  Louisiana
  5
  6        Michael Lacey                     NOT GUILTY                  GUILTY
  7         Scott Spear            '/4.      NOT GUILTY                  GUILTY
  8         John "Jed" Brunst       X        NOT GUILTY                  GUILTY
  9        Andrew Padilla           X        NOT GUILTY                  GUILTY
 10         Joye Vaught            X         NOT GUILTY                  GUILTY
 11
 12    Count 33:
 13
 14         Date                     Exhibit                 State
            Nov. 24, 2016             1723                   Massachusetts
 15
 16
            Michael Lacey                    NOT GUILTY                  GUILTY
 17
            Scott Spear            X         NOT GUILTY                  GUILTY
 18
            John "Jed" Brunst      X         NOT GUILTY                  GUILTY
 19                                ')(
           Andrew Padilla                    NOT GUILTY                  GUILTY
 20
            Joye Vaught            X         NOT GUILTY                  GUILTY
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  1
  2    Count 34:
  3
  4         Date                     Exhibit                State
            Nov. 26, 2016            1724                   California
  5
  6        Michael Lacey                    NOT GUILTY                   GUILTY
  7         Scott Spear            '/...    NOT GUILTY                   GUILTY
  8        John "Jed" Brunst         X      NOT GUILTY                   GUILTY
  9        Andrew Padilla          X        NOT GUILTY                   GUILTY
 10         Joye Vaught            X        NOT GUILTY                   GUILTY
 11
 12    Count 35:
 13
 14         Date                      Exhibit               State
            Dec. 20, 2016             1725                  Massachusetts
 15
 16
           Michael Lacey                    NOT GUILTY                   GUILTY
 17
            Scott Spear            X        NOT GUILTY                   GUILTY
 18
            John "Jed" Brunst      X        NOT GUILTY                   GUILTY
 19
           Andrew Padilla          X        NOT GUILTY                   GUILTY
 20
           Joye Vaught             X        NOT GUILTY                   GUILTY
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  2    Count 36:
  3
  4         Date                     Exhibit                State
            Jan. 15, 2017            1726                   Nevada
  5
  6        Michael Lacey                     NOT GUILTY                  GUILTY
  7         Scott Spear            'I...     NOT GUILTY                  GUILTY
  8         John "Jed" Brunst      X         NOT GUILTY                  GUILTY
  9         Andrew Padilla         x         NOT GUILTY                  GUILTY
 10         Joye Vaught            ')(       NOT GUILTY                  GUILTY
 11

 12    Count 37:
 13
 14         Date                     Exhibit                 State
            Apr. 4, 2017              1727                   Massachusetts
 15
 16
            Michael Lacey                    NOT GUILTY                  GUILTY
 17
            Scott Spear             X        NOT GUILTY                  GUILTY
 18
            John "Jed" Brunst      '><       NOT GUILTY                  GUILTY
 19                                X
           Andrew Padilla                    NOT GUILTY                  GUILTY
 20
            Joye Vaught             X        NOT GUILTY                  GUILTY
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  1
  2   Count 38:
  3
  4         Date                      Exhibit                State
            Apr. 11, 2017              1728                  Ohio
  5
  6
           Michael Lacey                      NOT GUILTY                 GUILTY
  7                               '/.._
            Scott Spear                       NOT GUILTY                 GUILTY
  8                                X
           John "Jed" Brunst                  NOT GUILTY                 GUILTY
  9
           Andrew Padilla          ~          NOT GUILTY                 GUILTY
 10
           Joye Vaught              X         NOT GUILTY                 GUILTY
 11
       Count 39:
 12
 13         Date                      Exhibit                State
            July 3, 2017              1729                   Alabama
 14
 15
           Michael Lacey                      NOT GUILTY                 GUILTY
 16
            Scott Spear            X          NOT GUILTY                 GUILTY
 17
            John "Jed" Brunst      )(         NOT GUILTY                 GUILTY
 18
           Andrew Padilla          X          NOT GUILTY                 GUILTY
 19
            Joye Vaught            X.         NOT GUILTY                 GUILTY
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  1
  2   Count 40:
  3
  4         Date                       Exhibit               State
            July 15, 2017              1730                  Massachusetts
  5
  6        Michael Lacey                   NOT GUILTY                    GUILTY
  7         Scott Spear            '/..    NOT GUILTY                    GUILTY
  8        John "Jed" Brunst        X       NOT GUILTY                   GUILTY
  9        Andrew Padilla          X       NOT GUILTY                    GUILTY
 10        Joye Vaught             X       NOT GUILTY                    GUILTY
 11

 12    Count 41:
 13
 14         Date                       Exhibit               State
            July 15, 2017              1731                  Arkansas
 15
 16
           Michael Lacey                    NOT GUILTY                   GUILTY
 17
            Scott Spear            X       NOT GUILTY                    GUILTY
 18
           John "Jed" Brunst       X        NOT GUILTY                   GUILTY
 19
           Andrew Padilla          X        NOT GUILTY                   GUILTY
 20
           Joye Vaught             X        NOT GUILTY                   GUILTY
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  1
  2   Count 42:
  3
  4         Date                     Exhibit                 State
            July 21, 2017            1732                    Ohio
  5
  6        Michael Lacey                  NOT GUILTY                     GUILTY
  7        Scott Spear             X      NOT GUILTY                     GUILTY
  8        John "Jed" Brunst       X      NOT GUILTY                     GUILTY
  9        Andrew Padilla          )(     NOT GUILTY                     GUILTY
 10        Joye Vaught              x     NOT GUILTY                     GUILTY
 11
 12    Count 43:
 13
 14         Date                     Exhibit                 State
            July 23, 2017            1733                    Massachusetts
 15
 16                                                                      GUILTY
           Michael Lacey                  NOT GUILTY
 17         Scott Spear            X      NOT GUILTY                     GUILTY
 18         John "Jed" Brunst      X      NOT GUILTY                     GUILTY
 19        Andrew Padilla          X      NOT GUILTY                     GUILTY
 20         Joye Vaught            X      NOT GUILTY                     GUILTY
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  2   Count 44:
  3
  4         Date                     Exhibit                 State
            Jan. 26, 2018            223                     Michigan
  5
  6        Michael Lacey                    NOT GUILTY                   GUILTY
  7         Scott Spear            ',(      NOT GUILTY                   GUILTY
  8        John "Jed" Brunst       'I..     NOT GUILTY                   GUILTY
  9                                )(.      NOT GUILTY                   GUILTY
           Andrew Padilla
 10        Joye Vaught             't-      NOT GUILTY                   GUILTY
 11
 12    Count 45:
 13
 14         Date                     Exhibit                 State
            Jan. 30, 2018            224                     New York
 15
 16
            Michael Lacey                   NOT GUILTY                   GUILTY
 17
            Scott Spear             X       NOT GUILTY                   GUILTY
 18
 19
            John "Jed" Brunst      x        NOT GUILTY                   GUILTY
           Andrew Padilla          X.       NOT GUILTY                   GUILTY
 20
            Joye Vaught            X        NOT GUILTY                   GUILTY
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  1
  2    Count 46:
  3
  4         Date                     Exhibit                 State
            Jan. 31, 2018            225                     New York
  5
  6         Michael Lacey                  NOT GUILTY                    GUILTY
  7         Scott Spear            )(      NOT GUILTY                    GUILTY
  8         John "Jed" Brunst      X.      NOT GUILTY                    GUILTY
  9         Andrew Padilla         '}(     NOT GUILTY                    GUILTY
 10         Joye Vaught            X       NOT GUILTY                    GUILTY
 11
 12    Count 47:
 13
 14         Date                     Exhibit                 State
 15         Jan.30,2018              226                     New York

 16
            Michael Lacey                  NOT GUILTY                    GUILTY
 17
 18
            Scott Spear            'X      NOT GUILTY                    GUILTY
            John "Jed" Brunst      X       NOT GUILTY                    GUILTY
 19
 20
            Andrew Padilla         x       NOT GUILTY                    GUILTY

 21
            Joye Vaught            X       NOT GUILTY                    GUILTY

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  1
  2   Count 48:
  3
  4         Date                       Exhibit               State
            Jan. 31, 2018              227                   Florida
  5
  6        Michael Lacey                     NOT GUILTY                  GUILTY
  7         Scott Spear            'f...     NOT GUILTY                  GUILTY
  8        John "Jed" Brunst       X         NOT GUILTY                  GUILTY
  9        Andrew Padilla          X         NOT GUILTY                  GUILTY
 10        Joye Vaught               x       NOT GUILTY                  GUILTY
 11
 12    Count 49:
 13
 14         Date                       Exhibit               State
 15         Feb. 1,2018                228                   Nevada

 16
           Michael Lacey                     NOT GUILTY                  GUILTY
 17
            Scott Spear             ',(      NOT GUILTY                  GUILTY
 18
 19
            John "Jed" Brunst       x        NOT GUILTY                  GUILTY
           Andrew Padilla           X        NOT GUILTY                  GUILTY
 20
 21
            Joye Vaught            x         NOT GUILTY                  GUILTY

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  1
  2    Count 50:
  3
  4         Date                      Exhibit                State
            Feb.6,2018                229                    Texas
  5
  6
           Michael Lacey                    NOT GUILTY                   GUILTY
  7
            Scott Spear             X       NOT GUILTY                   GUILTY
  8
            John "Jed" Brunst       X       NOT GUILTY                   GUILTY
  9

 10
            Andrew Padilla           x      NOT GUILTY                   GUILTY
            Joye Vaught              'X     NOT GUILTY                   GUILTY
 11
 12
       Count 51:
 13
 14         Date                      Exhibit                State
 15         Feb.6,2018                230                    New York

 16
            Michael Lacey                   NOT GUILTY                   GUILTY
 17
            Scott Spear             ')(     NOT GUILTY                   GUILTY
 18
            John "Jed" Brunst       )(      NOT GUILTY                   GUILTY
 19
 20
            Andrew Padilla          x       NOT GUILTY                   GUILTY

 21
            Joye Vaught             X       NOT GUILTY                   GUILTY

 22
 23
                             Conspiracy To Commit Money Laundering
 24                                     18 U.S.C. § 1956(h)
                                            COUNT 52
 25
           Michael Lacey          - - - NOT GUILTY             - - - GUILTY
 26
 27
            Scott Spear           - - - NOTGUILTY                X       GUILTY

 28
           John "Jed" Brunst                NOT GUILTY           X       GUILTY

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  1
                                Concealment Money Laundering
  2
                                  18 U.S.C. § 1956(a)(l)(B)(i)
  3                                     COUNT 53-62
  4   Count 53:
  5
          Date              Amount                 Description
  6
          May 18, 2016      $1,476,505.00          Website Technologies (x2008) to Cereus
  7                                                Properties (x621 l)
  8
  9
 10
           Michael Lacey        - - - NOT GUILTY                  - - - GUILTY

 11
            Scott Spear         - - - NOTGUILTY                   _')(~_GUILTY
           John "Jed" Brunst    ---
                                            NOTGUILTY             -X~_GUILTY
 12
 13
       Count 54:
 14
 15
          Date              Amount                 Description
 16       May 18, 2016      $264,438.00            Website Technologies (x2008) to Cereus
 17                                                Properties (x621 l)

 18
 19
           Michael Lacey        - - - NOT GUILTY                  - - - GUILTY
 20
            Scott Spear         ---
                                      NOTGUILTY                   _'X~_GUILTY
 21
            John "Jed" Brunst               NOTGUILTY                )(     GUILTY
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  1
  2   Count 55:
  3
  4       Date             Amount                 Description
          May 31, 2016     $3,171,675.80          Website Technologies (x2008) to Cereus
  5                                               Properties (x621 l)
  6
  7
  8        Michael Lacey        - - - NOT GUILTY                 - - - GUILTY

  9        Scott Spear          - - - NOTGUILTY                   't.. - GUILTY
                                                                 -~

 10        John "Jed" Brunst    - - - NOTGUILTY                     )(     GUILTY

 11
 12   Count 56:

 13
          Date             Amount                 Description
 14       May 31, 2016     $432,961.87            Website Technologies (x2008) to Cereus
 15                                               Properties (x6211)

 16
 17
           Michael Lacey        - - - NOT GUILTY                 - - - GUILTY
 18
            Scott Spear         - - - NOTGUILTY                      '><   GUILTY
 19
           John "Jed" Brunst    - - - NOTGUILTY                      X     GUILTY
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  1
  2   Count 57:
  3
  4       Date             Amount                 Description
          June 20, 2016    $842,878.00            Website Technologies (x2008) to Cereus
  5                                               Properties (x6211)
  6
  7
  8        Michael Lacey        - - - NOT GUILTY                 - - - GUILTY

  9        Scott Spear          - - - NOTGUILTY                     ~      GUILTY

 10        John "Jed" Brunst    - - - NOTGUILTY                     )<     GUILTY

 11
 12    Count 58:

 13
          Date             Amount                 Description
 14       June 30, 2016    $3,076,147.75          Website Technologies (x2008) to Cereus
 15                                               Properties (x6211)

 16
 17
           Michael Lacey        - - - NOT GUILTY                 - - - GUILTY
 18
            Scott Spear         ---
                                           NOTGUILTY                 )(    GUILTY
 19
           John "Jed" Brunst    - - - NOTGUILTY                      X     GUILTY
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  1
  2   Count 59:
  3
  4       Date              Amount                 Description
          July 27, 2016     $3,252,681.62          Website Technologies (x.2008) to Cereus
  5                                                Properties (x6211)
  6
  7

  8        Michael Lacey        - - - NOT GUILTY                  - - - GUILTY
  9         Scott Spear         - - - NOTGUILTY                     )(  GUILTY

 10         John "Jed" Brunst               NOTGUILTY                  )(    GUILTY

 11
 12    Count 60:

 13
          Date              Amount                 Description
 14       July 27, 2016     $438,818.86            Website Technologies (x.2008) to Cereus
 15                                                Properties (x621 l) .

 16
 17
            Michael Lacey       - - - NOT GUILTY                  ---
                                                                             GUILTY
 18
            Scott Spear         - - - NOTGUILTY                       x      GUILTY
 19
            John "Jed" Brunst   - - - NOTGUILTY                        X     GUILTY
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  1
  2   Count 61:
  3
  4       Date             Amount                 Description
          Aug. 16, 2016    $804,250.00            Website Technologies (x2008) to Cereus
  5                                               Properties (x6211)
  6

  7
  8        Michael Lacey        - - - NOT GUILTY                 - - - GUILTY

  9        Scott Spear          - - - NOTGUILTY
                                                                     )(.   GUILTY

 10        John "Jed" Brunst               NOTGUILTY                 ){    GUILTY

 11
 12   Count 62:

 13
          Date             Amount                 Description
 14       Aug.31,2016      $3,171,264.42          Website Technologies (x2008) to Cereus
 15                                               Properties (x621 l)

 16
 17
           Michael Lacey        - - - NOT GUILTY                 - - - GUILTY
 18
            Scott Spear         - - - NOTGUILTY                  ---4-X~- GUILTY
 19
           John "Jed" Brunst    - - - NOTGUILTY                  ______,X~_GUILTY
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  1
                          International Promotional Money Laundering
  2                                 18 U.S.C. § 1956(a)(2)(A)
                                          COUNT 63-68
  3
      Count 63:
  4
  5
          Date              Amount               Description
  6       Mar. 4, 2014      $6,450.00            U.S. Bank (xl 165) to S.B. (web developer
                                                 in India)
  7

  8
  9
           Michael Lacey        -~
                                 ~ - NOTGUILTY                  ---
                                                                           GUILTY
 10
           Scott Spear          ---.X~_NOT GUILTY               - - - GUILTY
 11
           John "Jed" Brunst     --+-/'~- NOT GUILTY            - - - GUILTY
 12
 13
      Count 64:
 14
 15       Date              Amount               Description
 16       Aug. 5, 2016      $5,005,732.86        Ad Tech B.V. (Netherlands) to Cereus
                                                 Properties (x621 l)
 17
 18
 19        Michael Lacey        - - - NOT GUILTY                ---
                                                                           GUILTY
 20         Scott Spear            x        NOTGUILTY           - - - GUILTY
 21        John "Jed" Brunst    - - - NOT GUILTY                    x.     GUILTY
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  1
  2   Count 65:
  3
  4       Date              Amount                  Description
          Sept. 22, 2016    $2,916,955.00           Ad Tech B. V. (Netherlands) to Cereus
  5                                                 Properties (x6211)
  6

  7
  8        Michael Lacey        ---
                                            NOT GUILTY             - - - GUILTY

  9
           Scott Spear             '/2.     NOT GUILTY             - - - GUILTY
 10        John "Jed" Brunst    - - - NOT GUILTY                     )<. GUILTY
 11
 12   Count 66:

 13
          Date              Amount                  Description
 14       Oct. 3, 2016      $354,050.84             Ad Tech B.V. (Netherlands) to Cereus
 15                                                 Properties (x6211)

 16
 17
           Michael Lacey        - - - NOT GUILTY                   - - - GUILTY
 18
            Scott Spear            '/-..    NOTGUILTY              - - - GUILTY
 19
 20
            John "Jed" Brunst   - - - NOT GUILTY                       x.     GUILTY

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  1
  2   Count 67:
  3
  4       Date             Amount                 Description
          Nov. 2, 2016     $2,726,170.00          Ad Tech B. V. (Netherlands) to Cereus
  5                                               Properties (x621 l)
  6
  7
  8        Michael Lacey        - - - NOT GUILTY                 - - - GUILTY
  9        Scott Spear             "'      NOTGUILTY             - - - GUILTY

 10        John "Jed" Brunst    - - - NOT GUILTY                     "><.   GUILTY

 11
 12   Count 68:

 13
          Date             Amount                 Description
 14       Nov. 15, 2016    $351,403.54            Ad Tech B.V. (Netherlands) to Cereus
 15                                               Properties (x621 l)

 16
 17
           Michael Lacey        ---
                                           NOT GUILTY            - - - GUILTY
 18
           Scott Spear             x       NOTGUILTY             - - - GUILTY
 19
 20
           John "Jed" Brunst    - - - NOT GUILTY                      x     GUILTY

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  1
                                Transactional Money Laundering
  2
                                      18 U.S.C. § 1957(a)
  3                                      COUNT 69-99
  4    Count 69:
  5
          Date              Amount                 Description
  6
          Aug. 21, 2013     $30,000.00             Bank of America (x9463) to Stewart Title
  7                                                (partial payment for Sedona property)
  8
  9
            Michael Lacey                  NOT GUILTY              - - - GUILTY
 10                              ---

            John "Jed" Brunst              NOTGUILTY                     GUILTY
 11
 12
       Count 70:
 13
 14
          Date              Amount                 Description
 15       Sept.13,2013      $62,491.47             BMO Harris (xl 793) to Stewart Title
 16                                                (partial payment for Sedona property)

 17
 18
            Michael Lacey        - - - NOT GUILTY                  - - - GUILTY
 19
            John "Jed" Brunst    - - - NOTGUILTY
                                                                      )(     GUILTY
 20
 21
       Count 71:
 22
 23       Date              Amount                 Description
 24       June 11, 2014     $300,000.00            National Bank of Arizona (x0 178) to
                                                   Spear Family Trust
 25
 26         Scott Spear          ---
                                           NOT GUILTY                X
                                                                   - ~ - GUILTY
 27
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  1
  2   Count 72:
  3
  4       Date             Amount                 Description
          June 20, 2014    $200,000.00            National Bank of Arizona (x0l 78) to TD
  5                                               Ameritrade
  6
  7         Scott Spear         - - - NOT GUILTY                  --4X~- GUILTY
  8
  9    Count 73:

 10
          Date             Amount                 Description
 11       Nov. 4, 2014     $1,000,000.00          National Bank of Arizona (x0 178) to USB
 12                                               Financial

 13
 14
            Scott Spear         - - - NOT GUILTY                  --#X----.- GUILTY
 15
       Count 74:
 16
 17
          Date             Amount                 Description
 18       May 14, 2015     $250,000.00            National Bank of Arizona (x0 178) to
                                                  Lincoln National Life
 19
 20
 21
            Scott Spear         ---
                                           NOT GUILTY               :x.     GUILTY


 22    Count 75:
 23
 24       Date             Amount                 Description
          May 26, 2015     $50,000.00             National Bank of Arizona (x0l 78) to
 25
                                                  Industrial Property Trust
 26
 27        Scott Spear          - - - NOT GUILTY                  ___
                                                                    X__ GUILTY
 28
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  1
  2    Count 76:
  3
  4       Date              Amount                 Description
          Nov. 3, 2015      $300,000.00            National Bank of Arizona (x0 178) to Ally
  5                                                Bank
  6
  7
  8       Scott Spear           - - - NOT GUILTY                    'j...   GUILTY

  9
 10    Count 77:

 11
          Date              Amount                 Description
 12       Dec. 1, 2015      $200,000.00            National Bank of Arizona (x0 178) to
 13                                                Wells Fargo

 14
            Scott Spear                    NOT GUILTY                         GUILTY
 15
 16
       Count 78:
 17
 18
          Date              Amount                 Description
 19       Jan. 11, 2016     $133,045.00            Cereus Properties (x6211) to National
                                                   Bank of Arizona (x0 178)
 20
 21         Scott Spear          - - - NOT GUILTY                  ~X------ GUILTY
 22         John "Jed" Brunst    - - - NOTGUILTY                   --'-X____.____ GUILTY
 23
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  1
  2   Count 79:
  3
  4       Date             Amount                 Description
          Jan. 26,2016     $101,974.00            Cereus Properties (x6211) to Wells Fargo
  5                                               (x4891)
  6
           John "Jed" Brunst               NOT GUILTY             ---4't.,---3L.-_GUILTY
  7
  8
  9
      Count 80:

 10
          Date             Amount                 Description
 11       Feb.3,2016       $1,507,944.00          Cereus Properties (x621 l) to Charles
 12                                               Schwab

 13
           John "Jed" Brunst    - - - NOT GUILTY                  ~""~_GUILTY
 14
      Count 81:
 15
 16
          Date             Amount                 Description
 17       Mar. 1, 2016     $1,692,020.00          Cereus Properties (x6211) to Bank of
                                                  America (x5554)
 18
 19        Michael Lacey        - - - NOT GUILTY                  - - - GUILTY
 20        John "Jed" Brunst    - - - NOTGUILTY                   ~~~_GUILTY
 21
 22   Count 82:
 23
 24       Date             Amount                 Description
          Apr. 1, 2016     $220,944.00            Cereus Properties (x6211) to Wells Fargo
 25
                                                  (x4891)
 26
 27        John "Jed" Brunst    - - - NOT GUILTY                  ~X~- GUILTY
 28
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  1
  2    Count 83:
  3
  4       Date              Amount                 Description
          June 27, 2016     $397,500.00            Arizona Bank & Trust (xl 793) to Fidelity
  5                                                Title (partial payment for San Francisco
                                                   property)
  6
  7         Michael Lacey       - - - NOT GUILTY                   - - - GUILTY

  8         John "Jed" Brunst   - - - NOTGUILTY
                                                                      y..    GUILTY

  9
 10    Count 84:

 11
          Date              Amount                 Description
 12       July 20, 2016     $12,859,152.57         Arizona Bank & Trust (xl 793) to Fidelity
 13                                                Title (partial payment for San Francisco
                                                   property)
 14
            Michael Lacey       - - - NOT GUILTY                   ---
                                                                             GUILTY
 15
            John "Jed" Brunst                NOTGUILTY                )(     GUILTY
 16
 17
       Count 85:
 18
 19                                                Description
          Date              Amount
 20       July 22, 2016     $50,000.00             National Bank of Arizona (x0l 78) to
                                                   Strategic Storage Trust II
 21
 22         Scott Spear         - - - NOT GUILTY
                                                                   __.Xe..__ GUILTY
 23
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  1
  2   Count 86:
  3
  4       Date             Amount                 Description
          Aug. 2, 2016     $16,243.00             Cereus Properties (x6211) to Wells Fargo
  5                                               (x0495)
  6
  7        Michael Lacey        - - - NOT GUILTY                 - - - GUILTY
  8        John "Jed" Brunst    - - - NOTGUILTY                    )(  GUILTY

  9
 10   Count 87:

 11
          Date             Amount                 Description
 12       Oct. 6, 2016     $1,206,356.00          Cereus Properties (x6211) to Charles
 13                                               Schwab (x4693)

 14
           John "Jed" Brunst    - - - NOT GUILTY                  ~"'-~_GUILTY
 15
 16
      Count 88:
 17
 18       Date             Amount                 Description
 19       Oct. 6, 2016     $268,016.00            Cereus Properties (x6211) to Arizona
                                                  Bank & Trust (x1967)
 20
 21        Michael Lacey        - - - NOT GUILTY                 - - - GUILTY
 22        John "Jed" Brunst          NOTGUILTY                    X GUILTY
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  1
  2    Count 89:
  3
  4       Date              Amount                 Description
          Oct. 6, 2016      $268,016.00            Cereus Properties (x6211) to Arizona
  5                                                Bank & Trust (xl 972)
  6
  7
           Michael Lacey        - - - NOT GUILTY                   - - - GUILTY
  8         John "Jed" Brunst   - - - NOTGUILTY                      )(  GUILTY

  9
 10    Count 90:

 11
          Date              Amount                 Description
 12       Oct. 6, 2016      $268,016.00            Cereus Properties (x62 l 1) to Arizona
 13                                                Bank & Trust (xl 986)

 14
            Michael Lacey       - - - NOT GUILTY                   - - - GUILTY
 15
            John "Jed" Brunst              NOTGUILTY                 '/.. GUILTY
 16
 17
       Count 91:
 18
 19       Date              Amount                 Description
 20       Oct. 6, 2016      $268,016.00            Cereus Properties (x6211) to Arizona
                                                   Bank & Trust (xl991)
 21
 22         Michael Lacey       - - - NOT GUILTY                   - - - GUILTY
 23         John "Jed" Brunst   - - - NOTGUILTY                    ~'i.<--=--- GUILTY
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  1
  2   Count 92:
  3
  4       Date              Amount                 Description
          Oct. 6, 2016      $268,016.00            Cereus Properties (x62 l l) to Arizona
  5                                                Bank & Trust (x2014)
  6
  7        Michael Lacey        - - - NOT GUILTY                   - - - GUILTY
  8         John "Jed" Brunst   - - - NOTGUILTY                      "t.. GUILTY
  9
 10    Count 93:

 11
          Date              Amount                 Description
 12       Oct. 6, 2016      $141,444.00            Cereus Properties (x6211) to National
 13                                                Bank of Arizona (x0l 78)

 14
            Scott Spear         - - - NOT GUILTY                    X - GUILTY
                                                                   -~
 15
 16
           John "Jed" Brunst    - - - NOTGUILTY                        x      GUILTY

 17
       Count 94:
 18
 19
          Date              Amount                 Description
 20       Dec. 29, 2016     $3,300,000.00          Arizona Bank & Trust/Dubuque Bank &
                                                   Trust to Johnson Bank (x9992)
 21
 22        Michael Lacey                    NOT GUILTY                        GUILTY
 23
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  1
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  2   Count 95:
  3
  4       Date             Amount                Description
          Dec. 29, 2016    $3,300,000.00         Arizona Bank & Trust/Dubuque Bank &
  5                                              Trust to Johnson Bank (x9992)
  6
  7        Michael Lacey        - - - NOT GUILTY                - - - - GUILTY

  8
  9   Count 96:

 10
          Date             Amount                Description
 11       Dec. 29, 2016    $3,300,000.00         Arizona Bank & Trust/Dubuque Bank &
 12                                              Trust to Johnson Bank (x9992)

 13
 14
          Michael Lacey       - - - NOT GUILTY                 - - - - GUILTY
 15
 16
      Count 97:
 17
 18                        Amount                Description
          Date
 19       Dec. 29, 2016    $3,300,000.00         Arizona Bank & Trust/Dubuque Bank &
                                                 Trust to Johnson Bank (x9992)
 20
 21                                        NOT GUILTY
           Michael Lacey                                        - - - - GUILTY
 22
 23   Count 98:
 24
 25       Date             Amount                Description
          Dec. 29, 2016    $3,300,000.00         Arizona Bank & Trust/Dubuque Bank &
 26
                                                 Trust to Johnson Bank (x9992)
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  1        Michael Lacey         - - - NOT GUILTY                - - - GUILTY

  2   Count 99:
  3
  4       Date               Amount               Description
          Jan. 3, 2017       $16,500,000.00       Johnson Bank (x9992) to Primus Trust
  5                                               Co./K&H Bank (Hungary)
  6
  7        Michael Lacey         - - - NOT GUILTY                - - - GUILTY

  8
                         International Concealment Money Laundering
  9                                18 U.S.C. § 1956(a)(2)(B)(i)
 10                                       COUNT 100

 11   Count 100:
 12
          Date               Amount               Description
 13       Jan. 3, 2017       $16,500,000.00       Johnson Bank (x9992) to Primus Trust
                                                  Co./K&H Bank (Hungary)
 14
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 16
 17
           Michael Lacey         - - - NOT GUILTY                __.__X~- GUILTY
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